             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION

                         CIVIL NO. 2:08CV15-T-02
                             (2:00CR18-02-T)


EDDIE DEWAYNE CARRINGER,                   )
                                           )
                  Petitioner,              )
                                           )
            vs.                            )           ORDER
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
            Respondent.                    )
______________________________             )


      THIS MATTER is before the Court on Petitioner’s “Motion For Re-

consideration and/or Request for Clarification of Memorandum and Order

of Dismissal,” filed July 17, 2008.

      On June 24, 2008, the Court entered a Memorandum and Order

dismissing the Petitioner’s motion to vacate, set aside or correct sentence

filed pursuant to 28 U.S.C. § 2255 as untimely. Memorandum and Order

of Dismissal, filed June 24, 2008. Specifically, the Court determined that

Petitioner’s Judgment of Conviction had become final on July 20, 2001;

that he had not filed his § 2255 motion until June 2, 2008; and that he had

failed to set forth any basis for excusing his delay and construing his



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motion to vacate as timely filed. Id. at 6-9. Petitioner now asserts that the

Court erred in dismissing his motion and should reconsider that matter.

      Petitioner argues that the Court erroneously ignored his claim that he

is “actually innocent” of the career offender enhancement, and his

argument that he could establish a basis for excusing his procedural

default of his claims. Petitioner’s Motion, at 6-7. He also argues that the

Court is in error in finding that his limitations period could not be tolled

because there was no evidence to support his assertions of mental

incompetency and inability to prosecute his motion to vacate any sooner

than was attempted. Id. at 8-12. Petitioner claims the medical records of

his pre-indictment substance abuse treatment at Broughton Hospital and of

his pretrial psychiatric treatment will substantiate his claim of his inability to

litigate his claims in a timely manner. Id. at 3-4. Notably, however, the

medical records which Petitioner claims can substantiate his assertion of

post-judgment incapacity relate to treatment which he received before he

was convicted. Petitioner does not point to the existence of any evidence

which supports his claims of post-conviction addiction and treatment.

      Moreover, the law is clear that Petitioner simply is not entitled to cast

aside his sworn representations -- that he was not being treated for mental




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illness or substance abuse, he was not under a doctor’s care and his mind

was clear and he understood the proceedings -- made during his Rule 11

hearing. See Blackledge v. Allison, 431 U.S. 63, 74-75 (1977) (noting

that statements previously made under oath “constitute a formidable

barrier” to post-judgment attack based thereon). Consequently, the

record does not support Petitioner’s claim of post-judgment incapacity so

as to support his request for equitable tolling.

      Last, as the Court stated in its Memorandum and Order, even if

Petitioner could substantiate his claim of post-judgment drug abuse and

corresponding mental health problems, such evidence still would not justify

the equitable tolling of his limitations period because those matters simply

are not circumstances external to Petitioner’s own conduct as

contemplated under the law. See Harris v. Hutchinson, 209 F.3d 325,

330 (4 th Cir. 2000) (noting that equitable tolling generally is available

only where petitioner was prevented from asserting claims by

wrongful conduct of the Government, or where extraordinary

circumstances beyond petitioner’s control made it impossible to file

claims in timely manner).




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      In short, Petitioner has failed to set forth any matters which call into

question the Court’s earlier determination that his motion to vacate was

untimely filed. However, the Court will clarify for Petitioner that its decision

to dismiss his motion to vacate was not predicated upon a determination

that he had procedurally defaulted the claims set forth therein. Indeed, the

Court did not reach the merits of those claims as it was precluded from

doing so on the basis of its determination that the entire motion is time-

barred. Thus, the Court has no opinion as to whether or not Petitioner can

establish cause and prejudice or any other ground for excusing his

procedural default, if any, as that question is not germane to the issue of

whether any such claims were timely raised.

      IT IS, THEREFORE, ORDERED that Petitioner’s motion for

reconsideration is DENIED, but his request for clarification is GRANTED to

the extent that the Court has explained that his motion to vacate was

dismissed as time-barred and not on the basis of procedural default.


                                        Signed: July 21, 2008




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